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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                No. 4:08CR00352-08 JLH

THOMAS PATRICK HUGHES                                                          DEFENDANT

                                          ORDER

       Thomas Patrick Hughes’ motion to terminate his supervised release is GRANTED without

objection. Document #263. Hughes is hereby discharged and released from further supervision.

       IT IS SO ORDERED this 28th day of January, 2014.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
